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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                         (Palm Beach Division)

                                   Case No. 9:19-CV-80633-ROSENBERG


   SECURITIES AND EXCHANGE COMMISSION,

           Plaintiff,

   v.

   NATURAL DIAMONDS INVESTMENT CO.,
   et al.,

           Defendants,

   H.S. MANAGEMENT GROUP LLC, et al.,

         Relief Defendants.
   ______________________________________________/

         RECEIVER’S CORRECTED1 UNOPPOSED TENTH INTERIM APPLICATION
             FOR ALLOWANCE AND PAYMENT OF COMPENSATION AND
               REIMBURSEMENT OF EXPENSES TO THE RECEIVER AND
            HIS PROFESSIONALS; INCORPORATED MEMORANDUM OF LAW

           Pursuant to paragraph 52 of Section XIII of the Order Granting Plaintiff Securities and

   Exchange Commission’s Motion for Appointment of Receiver [DE 20] (the “Appointment

   Order”), Jeffrey C. Schneider, not individually, but solely in his capacity as the Court-appointed

   receiver (the “Receiver”) for Natural Diamonds Investment Co (“NDIC”), Eagle Financial

   Diamond Group (“EFDG”), and Argyle Coin, LLC (“Argyle”), submits his Tenth Interim

   Application for allowance and payment of compensation and reimbursement of expenses for the

   quarterly period of January 1, 2022 through March 31, 2022.

           The Receiver has conferred with the only entity that is still a party to this case, the

   Securities and Exchange Commission (the “SEC”), which does not oppose the relief requested.


   1
     This version merely corrects Exhibit E which inadvertently included time from the second quarter of 2022 (not in
   the total, but with entries), and corrects Exhibit F to reflect the 50% proposed holdback referenced herein.
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                           INTRODUCTION AND BRIEF BACKGROUND

           As with his quarterly status report filed contemporaneously with this application, the

   Receiver will not spend significant time here analyzing his prior accomplishments and will

   instead just briefly highlight his accomplishments this quarter. During this quarter, the Receiver

   and his team spent significant time to finalize the claim evaluation process and determine a

   proposed distribution plan and worked to complete the auction of diamonds, jewelry and other

   items the Receiver secured since his appointment. The Twelfth Quarterly Status Report has a

   more detailed explanation of the Receiver’s efforts during the quarter, and the specific details of

   the work of the Receiver and his professionals are described in more detail below and in the

   attached time sheets.

           Pursuant to this Court’s order authorizing the Receiver’s proposed distribution plan, the

   Receiver is holding $45,183.42 to pay the fees for the Receiver and his professionals to

   administer the estate through the end of the receivership. As can be seen herein, the total fees

   incurred by the Receiver and his professionals currently exceeds that amount. Accordingly, the

   Receiver seeks approval of the entire fees incurred, but he proposes a 50% holdback on the fees

   incurred by the Receiver and LKLSG until and if such time arises that there is the ability to pay

   more, so as to ensure that the full amount may be paid out to the victims and preserved for the

   objection process.

                                  DESCRIPTION OF SERVICES

      I.      The Receiver

           The Receiver is a trial attorney who has served as a District Court receiver and receiver’s

   counsel in numerous SEC, FTC, and Commodity Futures Trading Commission cases during his

   nearly 30-year career. The Receiver is Chair of his law firm’s Receivership Practice Group and

   has served as the firm’s Managing Partner since the firm’s inception. Because the Receiver

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   views receivership cases as serving the public’s interest, the Receiver agreed to substantially

   reduce his standard hourly rate of $695.00 per hour, which is what the Receiver charges his

   typical commercial clients, to $395.00 per hour for purposes of this case. The Receiver’s

   $395.00 hourly rate is currently one of the lower receiver rates in the Southern District of Florida

   in receivership cases. The Receiver also capped his rate during the life of this case.

            The Receiver also sought commensurate reductions from all of his professionals. The

   Receiver also obtained their agreement to cap their rates during the life of this case.

      II.      Information about this Fee Application

            This Application has been prepared in accordance with the SEC’s Billing Instructions for

   Receivers in Civil Actions Commenced by the SEC. Pursuant to the Billing Instructions, Exhibit

   A attached hereto is a Certification by the Receiver confirming, under oath, that this Fee

   Application complies with the SEC’s Billing Instructions.

            Exhibit B attached hereto is the updated quarterly Standardized Fund Accounting Report,

   also known as the SFAR, which is the SEC’s accounting form required in civil receivership

   actions commenced by the SEC.

            Exhibit C attached hereto memorializes the professional services rendered by the

   Receiver, and the necessary and reasonable non-reimbursed out-of-pocket costs attendant to

   those services. Exhibit C, which was prepared based on the Receiver’s contemporaneous daily

   time records, includes a daily description of the services rendered by the Receiver, along with

   the hours expended at his reduced hourly rate. Exhibit C reflects that the Receiver billed a total

   of 17.80 hours, at a reduced hourly rate of $395.00 per hour, for a total of $7,031.00.

            Exhibits D and E attached hereto memorialize the professional services rendered by the

   Receiver’s professionals, and the necessary and reasonable non-reimbursed out-of-pocket costs

   attendant to their services, which are described more fully below.


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              Exhibit F is a proposed Order granting this Fee Application.

       III.      The Receiver’s Counsel and Their Services

              Pursuant to paragraph 50 of Section XIII of the Appointment Order, the Receiver was

   required to obtain permission from this Court to retain his legal counsel. On July 10, 2019, the

   Receiver filed his Motion to Employ Legal Counsel (the law firms of Sallah Astarita & Cox,

   LLC (the “Sallah Firm”) and Silver Law Group (the “Silver Firm”)), which was resolved by

   agreed order [DE 126]. The Sallah and Silver Firms have dozens of years of receivership

   experience and have served as receivers or lead counsel to receivers in countless receiverships

   involving Ponzi schemes, investment fraud schemes, deceptive telemarketing schemes, and the

   like in the Southern District of Florida and elsewhere around the Country. Like the Receiver, the

   partners and of counsel at the Sallah and Silver Firms have all agreed to substantially reduce

   their standard hourly rates (which range from $400.00 to $650.00 per hour) to $395.00 per hour

   in order to further increase potential recoveries for the benefit of the Receivership Estate.

   Associates are billed at less than that maximum reduced rate. They have also agreed to cap their

   rates during the life of this case.

              The Receiver’s firm (Levine Kellogg Lehman Schneider + Grossman LLP) has agreed to

   similar reductions and a cap of $350.00 during the life of this case.           The Receiver has

   endeavored to prevent duplication of efforts by his attorneys.

              The professional services rendered by the Sallah Firm, and the necessary and reasonable

   non-reimbursed out-of-pocket costs attendant to those services, are described in more detail on

   Exhibit D. Exhibit D, which was prepared based on the Sallah Firm’s contemporaneous daily

   time records, includes a daily description of the services rendered, the hours expended, and the




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   attorney’s reduced hourly rate.2 Exhibit D reflects that the Sallah Firm has charged a total of 0.5

   hours for a total of $197.50.

            As stated above, the professional services rendered by the Receiver’s firm, and the

   necessary and reasonable non-reimbursed out-of-pocket costs attendant to those services, are

   described in more detail on Exhibit E. Exhibit E was prepared based on the Receiver’s firm’s

   contemporaneous daily time records, and includes a daily description of the services rendered,

   the hours expended, and the attorney’s reduced hourly rate. The Receiver’s partner, Stephanie

   Reed Traband, who serves as co-counsel, billed a total of 60.6 hours, at a reduced hourly rate of

   $350.00 per hour, for a total of $21,210.00. Associate Marcelo Diaz-Cortes spent 47.2 hours at

   a reduced rate of $275.00 per hour, for a total of $12,980.00, evaluating and analyzing claims

   and working to resolve potential objections. Two other associates who left the firm during the

   subject quarter also worked on the file for a total combined 7.3 hours, but the Receiver elected

   not to seek payment for their hours, but their work is detailed in the attachment. Finally, the

   Receiver’s paralegal billed a total of 4.2 hours, at a reduced hourly rate of $150.00 per hour, for

   a total of $630.00. Exhibit E also reflects that the Receiver’s firm incurred costs of $367.49

   during the subject period.3

            The schedules of disbursements for expenses, which are also part of the attached

   Exhibits, are those actual and necessary expense items, such as photocopy charges, long distance

   telephone charges, telecopy charges, delivery charges, website maintenance expenses, and

   various other expenses incurred in connection with this matter. All of these expense items would

   typically be billed by the Receiver and his professionals to their general commercial clients.




   2
     Counsels’ billing entries in Exhibits D and E consist of “Case Administration” and “Asset
   Analysis and Recovery” entries pursuant to the SEC’s Billing Instructions.
   3
       The Silver Firm did not have any billable time or expenses during the subject period.

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        IV.      Summary Chart

              For the Court’s convenience, the following is a summary of the total fees and costs of the

   Receiver and his professionals during the subject period covered by this Fee Application:

   Name                                  Hours         Fees             Expenses         Total
   Receiver                              17.80         $7,031.00        $0               $7,031.00


   Sallah Astarita Cox LLC               0.5           $197.50          $0               $197.50

   Levine Kellogg              130.5                   $34,280.00       $367.49          $34,647.49
   Lehman Schneider + Grossman
   LLP
   Total                       148.8                   $41,508.50       $367.49          $41,875.99



   V.         Applicable Legal Standard and Analysis

              In determining attorneys’ fees, a court must (1) determine the nature and extent of the

   services rendered; (2) determine the value of those services; and (3) consider the factors set forth

   in Johnson v. Georgia Highway Express, Inc., 488 F. 2d. 714 (5th Cir. 1974). See Grant v.

   George Schumann Tire & Battery Co., 908 F.2d 874, 877-78 (11th Cir. 1990) (bankruptcy fee

   award case addressing the issue of attorney’s fees generally before considering specific

   requirements in the bankruptcy context).         The twelve factors set forth in Johnson, a case

   involving an award of attorneys’ fees under Federal civil rights statutes, as incorporated by the

   Eleventh Circuit in Grant, a bankruptcy case, are: (1) the time and labor required; (2) the

   novelty and difficulty of the questions presented; (3) the skill required to perform the legal

   services properly; (4) the preclusion of other employment by the attorney due to acceptance of

   the case; (5) the customary fee for similar work in the community; (6) whether the fee is fixed or

   contingent; (7) time limitations imposed by the client or by the circumstances; (8) the amount

   involved and results obtained; (9) the experience, reputation, and ability of the attorney; (10) the

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   undesirability of the case; (11) the nature and length of the professional relationship with the

   client; and (12) awards in similar cases.

          A.      The Time and Labor Required

          The foregoing summary description, together with the time records attached hereto, detail

   the time, nature, and extent of the professional services rendered by the Receiver and his

   professionals during the period covered by this Application. The Receiver and his professionals

   believe that the time spent is justified by the results that have been achieved thus far. The

   Receiver and his professionals believe they have played a significant role during the course of

   this proceeding and will continue to do so in the future.

          B.      The Novelty and Difficulty of the Questions Presented

          This case required a high level of skill to secure receivership assets and to carry out the

   Receiver’s many duties.

          C.      The Skill Requisite to Perform the Services Properly

          In order to perform the required services, substantial legal skill and experience in the

   areas of commercial law and litigation were required of the Receiver and his professionals. The

   Receiver is acutely aware of the financial considerations arising in receiverships such as this.

   Accordingly, as this Court may gather from the Exhibits attached hereto, the Receiver has staffed

   the administration of this case efficiently under the direction and immediate supervision of the

   Receiver.

          D.      The Preclusion of Other Employment Due to This Case

          Although the Receiver and his professionals were not explicitly precluded as a result of

   this case from accepting other matters, matters in this case were treated by the Receiver and his

   professionals in an expeditious and professional manner. Also, this case required the Receiver

   and his professionals to devote a significant amount of time to this case, to the preclusion of
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   expending time on other active matters.

          E.      The Customary Fee

          The hourly rates of the Receiver and his professionals set forth on the attached exhibits

   reflect a rate that is generally lower than the hourly rates billed by the Receiver and his

   professionals to clients in other cases, as well as rates that are consistent with or even lower than

   other receivers and their retained law firms in similar matters.            The Receiver’s and his

   professionals’ reduced rates have been confirmed and approved in many other matters in which

   the Receiver and his professionals have been involved.

          F.      Whether the Fee Is Fixed or Contingent

          The compensation of the Receiver and his professionals is subject to the approval of this

   Court, and the Receiver and his professionals did not receive any compensation for their services

   for more than 18 months because there were insufficient funds in the receivership accounts

   during that time. The above factors should be taken into consideration by this Court, and the

   compensation should reflect the assumption of the risk of non-payment and delay in payment.

          G.      The Time Limitations Imposed

          This case imposed some time limitations on the Receiver and his professionals due to the

   necessity for rapid resolutions of issues.

          H.      The Experience, Reputation, and Ability of the Professionals

          The Receiver and his professionals enjoy a fine reputation and have proven substantial

   ability in the fields of equity receiverships, litigation, and business reorganization.

          I.      The “Undesirability” of the Case

          This case is not the least bit undesirable, and the Receiver and his professionals are

   honored and privileged to serve in this case.

          J.      The Nature and Length of Professional Relationship
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           The Receiver and his professionals have had no prior relationship with the parties in this

   case prior to the initial related proceeding of the Corporate Monitor Action.

           K.      Awards in Similar Cases

           The amounts requested by the Receiver and his professionals are not unreasonable in

   terms of awards in cases of similar magnitude and complexity. The compensation requested by

   the Receiver and his professionals comports with the mandate of applicable law, which directs

   that services be evaluated in light of comparable services performed in other cases in the

   community. As stated above, the hourly rates requested by the Receiver and his professionals

   are generally lower than the ordinary and usual hourly rates billed by the Receiver and his

   professionals to not only their ordinary clients, notwithstanding the risks associated with this

   case, but also other receivers and their retained firms who bill at higher hourly rates.

           L.      The Source of Payment for the Amounts Sought Hereunder

           The amounts for which payment is requested hereunder shall be paid from funds that are

   held in the Argyle receivership bank account. The Argyle receivership account was previously

   funded with the approximate $2 million in settlement monies from Relief Defendants Winners

   Church/the Shipmans and has been further funded with the Froehlich $750,000 settlement funds

   and the funds from the auction of the diamonds and pieces of jewelry he has secured in this

   proceeding.

                                             CONCLUSION

           The Receiver respectfully requests that this Court enter the proposed Order, attached as

   Exhibit F, approving this Tenth Fee Application of payment and reimbursement of the requested

   fees and costs, allowing the Receiver to pay himself and LKLSG 50% of the approved fees (but

   all of the expenses) until and if such time that there may additional funds available, and for such

   other relief that is just and proper.
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                                 LOCAL RULE CERTIFICATION

          Pursuant to Local Rule 7.1(a)(3), the Receiver hereby certifies that he has conferred with

   counsel for the SEC. The SEC consents to the relief requested herein.



    Dated: May 19, 2022                             Respectfully submitted,
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                                                             -and-

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                                    CERTIFICATE OF SERVICE

          I hereby certify that on May 19, 2022, I electronically filed the foregoing document with
   the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served
   this day on all counsel of record or pro se parties identified on the attached Service List in the
   manner specified, either via transmission of Notices of Electronic Filing generated by CM/ECF
   or in some other authorized manner for those counsel or parties who are not authorized to receive
   electronically Notices of Electronic Filing.
                                                       By: /s/ Stephanie Reed Traband
                                                          STEPHANIE REED TRABAND

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